      Case 2:15-cr-00190-KJM Document 471 Filed 09/14/18 Page 1 of 5


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4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

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7    UNITED STATES OF AMERICA,             No. 2:15-cr-00190-GEB
8                  Plaintiff,
9          v.                              ORDER DENYING DEFENDANT’S MOTION
                                           TO CORRECT HIS SENTENCE UNDER
10   MICHAEL ROMANO,                       THE CLEAR ERROR PRINCIPLE IN
                                           CRIMINAL RULE OF PROCEDURE 35(a)
11                 Defendant.
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13              Defendant Michael Romano (“Romano”) filed a motion under

14   Federal Rule of Criminal Procedure (“Rule”) 35(a) on September 11,

15   2018, in which he argues his sentence must be corrected under the

16   clear error principle in Rule 35(a).      Rule 35(a) prescribes: “Within

17   14 days after sentencing, the court may correct a sentence that

18   resulted from arithmetical, technical, or other clear error.”     Def.’s

19   Mot. to Correct Clear Error, ECF No. 467.     Romano argues “clear error

20   . . . led to the imposition of [his] 37-month sentence . . . [yet]

21   the defense was not on notice that the facts in the [Final Presentence

22   Report (“PSR”)] were in dispute[;]” and consequently the district

23   judge committed clear error when the judge “did not provide[] the

24   notice [to Romano] required by Rule 32(f)(1) that the medical facts

25   and other facts stated in the PSR needed to be proven at the August

26   31, 2018, sentencing hearing.”      Id. at 1:27–2:18 (emphasis added).

27   Romano further argues: “If the Court was not going to accept all or

28   some of the undisputed facts [in the PSR], the Court should have
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      Case 2:15-cr-00190-KJM Document 471 Filed 09/14/18 Page 2 of 5


1    provided notice to the parties so that the parties could have presented

2    evidence to the Court establishing the facts in issue.”        Id. at 2:22–

3    24 (emphasis added).

4                By making this argument, Romano does not show understanding

5    that the sentencing procedures prescribed in Rule 32(f)(1) apply to

6    parties, not judges.     Rule 32(f)(1) states: “Within 14 days after

7    receiving the presentence report, the parties must state in writing

8    any   objections,   including   objections    to   material    information,

9    sentencing guideline ranges, and policy statements contained in or

10   omitted from the report.” (emphasis added).        Thus, Romano proffers a

11   proposed judicial requirement that has not been shown to exist under

12   Rule 32(f)(1) or other sentencing law applicable to the challenged

13   sentence.   Further, Romano’s arguments conflate facts with inferences

14   that can be drawn from the asserted facts and indicate that certain

15   factual and legal conclusions are tantamount to undisputed facts which

16   the judge is required to adopt; otherwise, under some unstated and

17   unsupported legal principle the judge is required to provide Romano

18   notice that the judge disagrees with the referenced factual and legal

19   conclusions in the PSR when that disagreement is realized, and to then

20   provide “the parties [with the opportunity to] present[] evidence to

21   the Court establishing the facts in issue.”        Def.’s Mot. at 2:23–24.

22   This argument indicates that a sentencing factual record can be

23   expanded beyond the time limits in Rule 32 without a showing of good

24   cause and simply because a judge decides he does not agree with the

25   Probation Officer’s downward departure conclusions.           This argument

26   disregards the Rules of Criminal Procedure that provide that the

27   probation department shall prepare a draft PSR and furnish it to the

28   parties, and after each party receives the draft PSR each party “must
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      Case 2:15-cr-00190-KJM Document 471 Filed 09/14/18 Page 3 of 5


1    state in writing any objections, including objections to material

2    information,     sentencing     guideline      ranges,    and   policy      statements

3    contained in or omitted from the [draft] report.”                 Fed. R. Crim. P.

4    32(f)(1) (emphasis added).        Clearly, if Romano opined that additional

5    “material [factual] information” should have been included in the PSR,

6    he had the opportunity to seek its inclusion.                   In addition, Rule

7    32(i)(1)(D) states: “At sentencing, the court . . . may, for good

8    cause, allow a party to make a new objection at any time before

9    sentence is imposed.” Romano did not show good cause at the sentencing

10   hearing    for   delaying    sentencing     so    that   he   could   seek    to   find

11   additional information supporting his departure positions. Romano’s

12   arguments at the sentencing hearing concerning the absence of evidence

13   supporting his downward departure arguments reveals he simply did not

14   consider     obtaining      additional     facts    supporting        his    departure

15   arguments,    other   than    facts   to   which    he   and    the   United    States

16   stipulated comprised the sentencing factual record at the sentencing

17   hearing.

18                Nor does Romano’s motion indicate that he understands the

19   discretion a sentencing judge has to draw inferences from facts Romano

20   asserts are undisputed, and to rely on those drawn inferences when

21   disagreeing with his departure arguments.            As indicated by the Supreme

22   Court in     Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,

23   314   (2007),    a   sentencing   judge     has    authority    to    “engage      in   a

24   comparative evaluation,” of inferences by “consider[ing] not only

25   inferences urged by [a party] . . . but also competing inferences

26   rationally drawn from the facts.”

27                Nor does the Romano reconcile in the motion the sua sponte

28   judicial duty he argues exists with the Ninth Circuit’s statement in
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      Case 2:15-cr-00190-KJM Document 471 Filed 09/14/18 Page 4 of 5


1    United States v. Leon, 341 F.3d 928, 932 (9th Cir. 2003): “Our own

2    pre-Koon cases using the de novo standard of review denied departures

3    to    defendants     who    had     not   shown   that     they   were   irreplaceable

4    caretakers.”        See also United States v. Menyweather, 447 F.3d 625,

5    633 (9th Cir. 2006) (“[c]onclud[ing] that Defendant did not prove that

6    she provides care that is irreplaceable or that could not feasibly be

7    provided by another”).            This law bespeaks that Romano bears the burden

8    of ensuring that the sentencing record contains sufficient facts to

9    support his departure requests.

10                 Notwithstanding that it is evident that the findings in the

11   PSR are adopted and found to be correct unless a finding in the PSR

12   conflicts with the sentencing decision, Romano argues under the Rule

13   35(a) clear error principle that the judge had a sua sponte notice

14   duty that has not been shown to exist, and that the failure of the

15   judge to discharge this phantom duty is clear error under Rule 35(a).

16   This argument is not within the scope of the Rule 35(a) clear error

17   principle.     “Every relevant authority agrees that the scope of ‘clear

18   error’ correctable under Rule 35(a) is extremely narrow.                        Although

19   courts take different approaches to Rule 35(a), all essentially agree

20   that ‘clear error’ under the Rule requires some reversible error at

21   . . . sentencing . . . .”            United States v. Fields, 552 F.3d 401, 404

22   (4th Cir. 2009) (citations omitted).                 Romano has not “point[ed] to

23   [any] reversible error that occurred at [sentencing].”                    Id.   Neither

24   the Guidelines nor any statute, national rule, or local rule requires

25   the   judge    to   do     what    Romano   argues   was    required     regarding   his

26   sentencing proceeding.            Since it is pellucid that “the district court

27   [lacks] authority to amend the sentence after entry of the judgment

28   and commitment order,” filed on September 6, 2018, United States v.
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      Case 2:15-cr-00190-KJM Document 471 Filed 09/14/18 Page 5 of 5


1    Ceballos, 671 F.3d 852, 854 (9th Cir. 2011), Romano’s motion is denied.

2              Dated:   September 14, 2018

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